Case 6:15-cr-00058-JDK-KNM           Document 172       Filed 06/17/16      Page 1 of 2 PageID #:
                                            417



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

  UNITED STATES OF AMERICA                       §
                                                 §
                                                 §
                                                 §
  v.                                             §         CRIM ACTION 6:15-CR-58-12
                                                 §
                                                 §
  MEOSHE GOODWIN                                 §
                                                 §
                                                 §

                  ORDER ADOPTING THE REPORT AND
        RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE


        The above-styled matter was referred to the Honorable K. Nicole Mitchell, United States

 Magistrate Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of

 Criminal Procedure. Judge Mitchell conducted a hearing in the form and manner prescribed by

 Federal Rule of Criminal Procedure 11 and issued her Report and Recommendation. Judge

 Mitchell recommended that the Court accept Defendant’s guilty plea and conditionally approve

 the FED. R. CRIM. P. 11(c)(1)(C) plea agreement. She further recommended that the Court finally

 adjudge Defendant as guilty of Count 17 of the Indictment filed in this cause.

        In open court at the plea hearing on June 15, 2016, the parties waived their right to object

 to the magistrate judge’s findings.      The Court is of the opinion that the Report and

 Recommendation should be accepted. It is accordingly

        ORDERED that the Report and Recommendation of the United States Magistrate Judge

 is ADOPTED. It is further




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Case 6:15-cr-00058-JDK-KNM         Document 172      Filed 06/17/16    Page 2 of 2 PageID #:
                                          418



     .   ORDERED that Defendant’s guilty plea is accepted and approved by the Court. Further,

 the plea agreement is approved by the Court, conditioned upon a review of the presentence

 report. It is finally

         ORDERED that, pursuant to Defendant’s plea agreement, the Court finds Defendant

 GUILTY of Count 17 of the Indictment in the above-numbered cause and enters a

 JUDGMENT OF GUILTY against the Defendant as to Count 17 of the Indictment.


         SIGNED this 17th day of June, 2016.




                                                      ____________________________________
                                                      MICHAEL H. SCHNEIDER
                                                      UNITED STATES DISTRICT JUDGE




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